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11                          UNITED STATES DISTRICT COURT
12                                  DISTRICT OF ARIZONA
13   Mi Familia Vota, et al.,
14                                           Case No: 2:21-cv-01423-DWL
            Plaintiffs,
15
                                             ATTORNEY GENERAL’S ANSWER TO
     vs.
16                                           COMPLAINT (Doc. 1)
17   Katie Hobbs, et al.,
18          Defendants.
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 1          Defendant Mark Brnovich, Arizona Attorney General (the “Defendant”), through
 2   undersigned counsel, hereby answers the Complaint (Doc. 1) submitted by Mi Familia
 3   Vota, Arizona Coalition for Change, Living United for Change in Arizona, and the
 4   League of Conservation Voters, Inc. d/b/a Chispa AZ (collectively the “Plaintiffs”) as
 5   follows:
 6                                       INTRODUCTION
 7          1.     This action concerns Senate Bills 1003 and 1485, which speak for
 8   themselves. The claims as to SB 1003 have been dismissed and therefore are no longer at
 9   issue. The remaining allegations are denied.
10          2.     Denied.
11          3.     Denied.
12          4.     These legal arguments require no response and are therefore denied.
13          5.     Plaintiffs bring this action under 42 U.S.C. §§1983 and 1988, but have no
14   valid claim under either statute.
15          6.     These legal arguments require no response and are therefore denied.
16          7.     These legal arguments require no response and are therefore denied.
17          8.     These legal arguments require no response and are therefore denied.
18          9.     Defendant Brnovich lacks sufficient information to admit or deny this
19   allegation and therefore denies the same.
20          10.    Defendant Brnovich lacks sufficient information to admit or deny this
21   allegation and therefore denies the same.
22          11.    Defendant Brnovich lacks sufficient information to admit or deny this
23   allegation and therefore denies the same.
24          12.    Defendant Brnovich lacks sufficient information to admit or deny this
25   allegation and therefore denies the same.
26          13.    Defendant Brnovich lacks sufficient information to admit or deny this
27   allegation and therefore denies the same.
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 1         14.    Defendant Brnovich lacks sufficient information to admit or deny this
 2   allegation and therefore denies the same.
 3         15.    Defendant Brnovich lacks sufficient information to admit or deny this
 4   allegation and therefore denies the same.
 5         16.    Defendant Brnovich lacks sufficient information to admit or deny this
 6   allegation and therefore denies the same.
 7         17.    Defendant Brnovich lacks sufficient information to admit or deny this
 8   allegation and therefore denies the same.
 9         18.    Defendant Brnovich lacks sufficient information to admit or deny this
10   allegation and therefore denies the same.
11         19.    Defendant Brnovich lacks sufficient information to admit or deny this
12   allegation and therefore denies the same.
13         20.    Defendant Brnovich lacks sufficient information to admit or deny this
14   allegation and therefore denies the same.
15         21.    Katie Hobbs is the Arizona Secretary of State. The cited authorities speak
16   for themselves.
17         22.    Admitted.
18         23.    Admitted.
19         24.    Admitted.
20         25.    The cited authority speaks for itself. The second sentence is admitted.
21         26.    Admitted.
22         27.    Admitted.
23         28.    Admitted.
24         29.    Admitted.
25         30.    Admitted.
26         31.    Admitted.
27         32.    Admitted.
28         33.    Admitted.


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 1         34.    Admitted.
 2         35.    Admitted.
 3         36.    Admitted.
 4         37.    Admitted.
 5         38.    Admitted.
 6         39.    Admitted.
 7         40.    Admitted.
 8         41.    The first sentence is admitted; the remainder of the paragraph states an
 9   opinion and is denied as vague.
10         42.    The cited authorities speak for themselves.
11         43.    The cited authorities speak for themselves.
12         44.    Defendant Brnovich lacks sufficient information to admit or deny and
13   therefore denies the same.
14         45.    Defendant Brnovich lacks sufficient information to admit or deny and
15   therefore denies the same.
16         46.    Defendant Brnovich lacks sufficient information to admit or deny and
17   therefore denies the same.
18         47.    Defendant Brnovich lacks sufficient information to admit or deny and
19   therefore denies the same.
20         48.    Defendant Brnovich lacks sufficient information to admit or deny and
21   therefore denies the same.
22         49.    Defendant Brnovich lacks sufficient information to admit or deny and
23   therefore denies the same.
24         50.    Defendant Brnovich lacks sufficient information to admit or deny and
25   therefore denies the same.
26         51.    Defendant Brnovich lacks sufficient information to admit or deny and
27   therefore denies the same.
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 1         52.    Defendant Brnovich lacks sufficient information to admit or deny and
 2   therefore denies the same.
 3         53.    Defendant Brnovich lacks sufficient information to admit or deny and
 4   therefore denies the same.
 5         54.    Defendant Brnovich lacks sufficient information to admit or deny and
 6   therefore denies the same.
 7         55.    Defendant Brnovich lacks sufficient information to admit or deny and
 8   therefore denies the same.
 9         56.    Defendant Brnovich lacks sufficient information to admit or deny and
10   therefore denies the same.
11         57.    Defendant Brnovich lacks sufficient information to admit or deny and
12   therefore denies the same.
13         58.    Defendant Brnovich lacks sufficient information to admit or deny and
14   therefore denies the same.
15         59.    Defendant Brnovich lacks sufficient information to admit or deny and
16   therefore denies the same.
17         60.    Defendant Brnovich lacks sufficient information to admit or deny and
18   therefore denies the same.
19         61.    Defendant Brnovich lacks sufficient information to admit or deny and
20   therefore denies the same.
21         62.    Defendant Brnovich lacks sufficient information to admit or deny and
22   therefore denies the same.
23         63.    Defendant Brnovich lacks sufficient information to admit or deny and
24   therefore denies the same.
25         64.    Defendant Brnovich lacks sufficient information to admit or deny and
26   therefore denies the same.
27         65.    Defendant Brnovich lacks sufficient information to admit or deny and
28   therefore denies the same.


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 1          66.     The allegations are denied.
 2          67.     The allegations are denied.
 3          68.     The allegations are denied.
 4          69.     Defendant Brnovich lacks sufficient information to admit or deny and
 5   therefore denies the same.
 6          70.     The first sentence is admitted. Defendant Brnovich lacks sufficient
 7   information to admit or deny the remaining portions of this paragraph, and therefore
 8   denies the same.
 9          71.     SB 1485 speaks for itself. Additionally, a voter’s inclusion on the list was
10   never truly “permanent,” as the Complaint implies, because even before SB 1485 voters
11   were subject to deregistration and removal from the list as part of routine voter list
12   maintenance.
13          72.     SB 1485 speaks for itself.
14          73.     Denied
15          74.     Defendant Brnovich lacks sufficient information to admit or deny and
16   therefore denies the same.
17          75.     Defendant Brnovich lacks sufficient information to admit or deny and
18   therefore denies the same.
19          76.     Defendant Brnovich lacks sufficient information to admit or deny and
20   therefore denies the same.
21          77.     Defendant Brnovich lacks sufficient information to admit or deny and
22   therefore denies the same.
23          78.     Denied.
24          79.     Defendant Brnovich lacks sufficient information to admit or deny and
25   therefore denies the same.
26          80.     Defendant Brnovich lacks sufficient information to admit or deny and
27   therefore denies the same.
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 1           81.   Arizona law speaks for itself. Defendant Brnovich lacks sufficient
 2   information to admit or deny and therefore denies the same.
 3           82.   Denied.
 4           83.   Denied.
 5           84.   Denied.
 6           85.   Arizona law, the cited judicial opinion, and the cited article speak for
 7   themselves. The last sentence is denied.
 8           86.   Arizona law speaks for itself.
 9           87.   The cited authority speaks for itself. The remaining allegations are legal
10   arguments that require no response and are therefore denied.
11           88.   The cited authority speaks for itself. The remaining allegations are legal
12   arguments that require no response and are therefore denied.
13           89.   Arizona law speaks for itself. The last sentence is denied.
14           90.   Denied.
15           91.   Defendant Brnovich lacks sufficient information to admit or deny and
16   therefore denies the same.
17           92.   Defendant Brnovich lacks sufficient information to admit or deny and
18   therefore denies the same.
19           93.   Defendant Brnovich lacks sufficient information to admit or deny and
20   therefore denies the same.
21           94.   The first sentence is denied. Defendant Brnovich lacks sufficient
22   information to admit or deny as to the remaining allegations, and therefore denies the
23   same.
24           95.   Denied.
25           96.   Denied.
26           97.   Denied.
27           98.   Defendant Brnovich lacks sufficient information to admit or deny and
28   therefore denies the same.


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 1         99.    Without in any way minimizing the historical harms inflicted on Arizona’s
 2   Native American peoples, Defendant Brnovich lacks sufficient information to admit or
 3   deny for purposes of this case, and therefore denies the same.
 4         100.   Defendant Brnovich lacks sufficient information to admit or deny and
 5   therefore denies the same.
 6         101.   Defendant Brnovich lacks sufficient information to admit or deny and
 7   therefore denies the same.
 8         102.   Defendant Brnovich lacks sufficient information to admit or deny and
 9   therefore denies the same.
10         103.   Defendant Brnovich lacks sufficient information to admit or deny and
11   therefore denies the same.
12         104.   Defendant Brnovich lacks sufficient information to admit or deny and
13   therefore denies the same.
14         105.   Defendant Brnovich lacks sufficient information to admit or deny and
15   therefore denies the same.
16         106.   Defendant Brnovich lacks sufficient information to admit or deny and
17   therefore denies the same.
18         107.   Admitted that Arizona was placed under “preclearance.” Defendant
19   Brnovich lacks sufficient information to admit or deny the remaining allegations and
20   therefore denies the same.
21         108.   Denied.
22         109.   Defendant Brnovich lacks sufficient information to admit or deny and
23   therefore denies the same.
24         110.   Defendant Brnovich lacks sufficient information to admit or deny and
25   therefore denies the same.
26         111.   Defendant Brnovich lacks sufficient information to admit or deny and
27   therefore denies the same.
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 1         112.   Defendant Brnovich lacks sufficient information to admit or deny and
 2   therefore denies the same.
 3         113.   Defendant Brnovich lacks sufficient information to admit or deny and
 4   therefore denies the same.
 5         114.   Defendant Brnovich lacks sufficient information to admit or deny and
 6   therefore denies the same.
 7         115.   Defendant Brnovich lacks sufficient information to admit or deny and
 8   therefore denies the same.
 9         116.   Defendant Brnovich lacks sufficient information to admit or deny and
10   therefore denies the same.
11         117.   Defendant Brnovich lacks sufficient information to admit or deny and
12   therefore denies the same.
13         118.   Defendant Brnovich lacks sufficient information to admit or deny and
14   therefore denies the same.
15         119.   Defendant Brnovich lacks sufficient information to admit or deny and
16   therefore denies the same.
17         120.   Defendant Brnovich lacks sufficient information to admit or deny and
18   therefore denies the same.
19         121.   Defendant Brnovich lacks sufficient information to admit or deny and
20   therefore denies the same.
21         122.   The cited report speaks for itself. Defendant Brnovich lacks sufficient
22   information to admit or deny and therefore denies the same.
23         123.   The cited report speaks for itself. Defendant Brnovich lacks sufficient
24   information to admit or deny and therefore denies the same.
25         124.   Defendant Brnovich lacks sufficient information to admit or deny and
26   therefore denies the same.
27         125.   Defendant Brnovich lacks sufficient information to admit or deny and
28   therefore denies the same.


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 1          126.   Denied.
 2          127.   Defendant Brnovich repeats and re-alleges his responses to paragraphs 1-
 3   126.
 4          128.   This cause of action has been dismissed and the allegations are therefore
 5   denied.
 6          129.   This cause of action has been dismissed and the allegations are therefore
 7   denied.
 8          130.   This cause of action has been dismissed and the allegations are therefore
 9   denied.
10          131.   This cause of action has been dismissed and the allegations are therefore
11   denied.
12          132.   This cause of action has been dismissed and the allegations are therefore
13   denied.
14          133.   This cause of action has been dismissed and the allegations are therefore
15   denied.
16          134.   This cause of action has been dismissed and the allegations are therefore
17   denied.
18          135.   This cause of action has been dismissed and the allegations are therefore
19   denied.
20          136.   Defendant Brnovich repeats and re-alleges his responses to paragraphs 1-
21   135.
22          137.   The Fourteenth Amendment speaks for itself.
23          138.   The Fifteenth Amendment speaks for itself.
24          139.   The cited authority speaks for itself.
25          140.   This cause of action has been dismissed as to SB 1003, and the allegations
26   as to SB 1003 are therefore denied. The allegations are further denied as to SB 1485.
27          141.   This cause of action has been dismissed as to SB 1003, and the allegations
28   as to SB 1003 are therefore denied. The allegations are further denied as to SB 1485.


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 1          142.   Defendant Brnovich repeats and re-alleges his responses to paragraphs 1-
 2   141.
 3          143.   The voting rights act speaks for itself.
 4          144.   This cause of action has been dismissed as to SB 1003, and the allegations
 5   as to SB 1003 are therefore denied. The allegations are further denied as to SB 1485.
 6          145.   This cause of action has been dismissed as to SB 1003, and the allegations
 7   as to SB 1003 are therefore denied. The allegations are further denied as to SB 1485.
 8                                  AFFIRMATIVE DEFENSES
 9          146.   The allegations in the complaint fail to state a claim.

10          147.   Plaintiffs’ requested relief is barred by the Purcell principle.

11                           RESPONSE TO PRAYER FOR RELIEF

12          Defendant Brnovich denies that Plaintiffs are entitled to any of the relief requested.

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 1   Respectfully submitted this 26th day of September, 2022.
 2
                                             MARK BRNOVICH
 3
                                             ATTORNEY GENERAL
 4
                                             By: s/ Robert J. Makar
 5                                           Joseph A. Kanefield (No. 15838)
                                              Chief Deputy & Chief of Staff
 6                                           Brunn (“Beau”) W. Roysden III (No. 28698)
 7                                            Solicitor General
                                             Drew C. Ensign (No. 25463)
 8                                            Deputy Solicitor General
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13                                           Attorneys for Mark Brnovich, Arizona Attorney
                                             General
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 1                             CERTIFICATE OF SERVICE
 2
            I hereby certify that on this 26th day of September, 2022, I caused the foregoing
 3
     document to be electronically transmitted to the Clerk’s Office using the CM/ECF System
 4
     for Filing, which will send notice of such filing to all registered CM/ECF users.
 5

 6
                                               s/ Robert J. Makar
 7                                             Robert J. Makar
                                               Counsel for Mark Brnovich, Arizona Attorney
 8
                                               General
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